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 4
                         UNITED STATES DISTRICT COURT
 5                      WESTERN DISTRICT OF WASHINGTON
                                  AT SEATTLE
 6

 7   MICHAEL COLE KAISER,
                                                   No. 3:20-CV-5731-RAJ-DWC
 8                             Plaintiff,
           v.                                      ORDER ADOPTING REPORT
 9
                                                   AND RECOMMENDATION
10   RYAN HERRINGTON, DANEE
     YOUNG, WASHINGTON STATE
11   DEPARTMENT OF CORRECTIONS,
12                     Defendants.

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         The Court, having reviewed the Report and Recommendation of Magistrate Judge
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   David W. Christel, objections to the Report and Recommendation, if any, and the
15 remaining record, does hereby find and ORDER:

16        (1)   The Court adopts the Report and Recommendation.
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          (2)   Plaintiff’s First Motion to Dismiss (Dkt. 4) is granted and the case be
18              dismissed without prejudice pursuant to Rule 41(a)(1) of the Federal Rules
                of Civil Procedure. All other pending Motions (Dkt. 1, 5) are denied as
19
                moot.
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          (3)   The Clerk is directed to send copies of this Order to Plaintiff, counsel for
21              Defendants, and to the Hon. David W. Christel.
22

23        DATED this 23rd day of September, 2020.
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                                                    A
                                                    The Honorable Richard A. Jones
                                                    United States District Judge
     ORDER ADOPTING REPORT AND RECOMMENDATION- 1
